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           EXHIBIT A
                  Case 1:18-cv-01620-VM Document 57-1 Filed 11/24/20 Page 2 of 7



In re Ubiquiti Networks, Inc. Securities Litigation
c/o JND Legal Administration
P.O. Box 91335
Seattle, WA, 98111

Email: info@UbiquitiNetworksSecuritiesLitigation.com
Telephone Number: 1 (844) 924-0858
Settlement Website: www.UbiquitiNetworksSecuritiesLitigation.com

                                                      Mailing Date:
                                                      Response Due Date:

                                                      Claim ID:

                                                      Eligible Security: Ubiquiti Common Stock
                                                               and/or Ubiquiti Call & sold Put Options

                                                      Class Period: Between May 9, 2013 and
                                                                  February 19, 2018, inclusive


            NOTICE OF DEFICIENT/INELIGIBLE CLAIM SUBMISSION



Dear Claimant:

We received and processed the Proof of Claim Form (“Claim” or “Claim Form”) you submitted in
the above-referenced securities litigation settlement. We have determined based on our review of
your Claim, that the Claim is deficient or ineligible for the reason(s) identified below. In order to
resolve the deficiencies, you must submit a written response with any required documentation as
specified below postmarked no later than the response due date printed at the top of this notice.
Please include a copy of this notice with your response. If you fail to respond by the response
due date set forth above, or if your response fails to cure the condition(s) identified below,
this Claim will be rejected to the extent that those conditions remain uncured. This is the
only notice you will receive with respect to this Claim.


     Reason for deficiency/ineligibility (Please see below for explanation):
             NO PURCHASE(S) WERE CLAIMED IN THE CLASS PERIOD
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Explanation of Claim Deficiency/Ineligibility:
       NO PURCHASE(S) WERE CLAIMED IN THE CLASS PERIOD

        This Claim does not contain any purchases of Ubiquiti Common Stock, Ubiquiti Call
        Options or sold Ubiquiti Put Options during the Class Period, May 9, 2013 through
        February 19, 2018, both dates inclusive.
      How To Fix:
        If you have purchase transactions of Ubiquiti Common Stock, Ubiquiti Call Options,
        or sold Put Options during this period, you must provide this and all other information
        and supporting documentation called for in the Proof of Claim and Release Form
        with respect to your holdings of and transactions in Ubiquiti Common Stock, Ubiquiti
        Call Options, or sold Put Options.
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Please note, even if you cure the noted deficiencies, your Claim must then calculate to a
Recognized Claim under the Plan of Allocation in order to be included in the list of eligible
Claims presented to the Court for approval. If you disagree with the conditions identified in this
notice, you may contact us for assistance and/or request Court review of our administrative
determination regarding your Claim.

To request Court review, you must send a letter to the Claims Administrator at the address indicated
above no later than the response deadline set forth above. Your letter, which must be signed, must:
(1) specifically state that you “request that the Court review the full or partial rejection of your Claim”;
(2) state your argument(s) for why you are contesting the full or partial rejection of the Claim; and (3)
include any and all documentation supporting your arguments. A copy of this letter must be included
with your request for Court review. PLEASE NOTE: COURT REVIEW SHOULD ONLY BE SOUGHT
IF YOU DISAGREE WITH THE CLAIMS ADMINISTRATOR’S DETERMINATION REGARDING YOUR
CLAIM.

If you have any questions about this notice or any of the noted deficiencies, or if you want to confirm
the status of your Claim after you submit a response to this notice, please contact us at the telephone
number or email address noted above.

                                                                      Sincerely,

                                                                      JND Legal Administration False
                  Case 1:18-cv-01620-VM Document 57-1 Filed 11/24/20 Page 5 of 7



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                                                      Mailing Date:
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                                                      Eligible Security: Ubiquiti Common Stock
                                                               and/or Ubiquiti Call & sold Put Options

                                                      Class Period: Between May 9, 2013 and
                                                                  February 19, 2018, inclusive


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Please include a copy of this notice with your response. If you fail to respond by the response
due date set forth above, or if your response fails to cure the condition(s) identified below,
this Claim will be rejected to the extent that those conditions remain uncured. This is the
only notice you will receive with respect to this Claim.


     Reason for deficiency/ineligibility (Please see below for explanation):
             NO DOCUMENTATION WAS PROVIDED TO SUPPORT THE CLAIM
           Case 1:18-cv-01620-VM Document 57-1 Filed 11/24/20 Page 6 of 7




Explanation of Claim Deficiency/Ineligibility:
       NO DOCUMENTATION WAS PROVIDED TO SUPPORT THE CLAIM

        You did not provide any documentation for the Claim.

      How To Fix:
        You can resolve this deficiency by submitting acceptable documentation to support
        the Claim.

        Specifically, the supporting documentation for each transaction must reflect the
        purchase (acquisition)/sale date, the number of shares purchased (acquired)/sold
        and the price paid/received per share. With respect to the required “holding”
        positions, the documentation need only support the number of shares held as of the
        dates set forth in Proof of Claim and Release Form.

        Acceptable documentation includes securities broker’s confirmation slips, month and
        year-end account statements or similar documentation (self-generated documents
        are not acceptable).
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number or email address noted above.

                                                                      Sincerely,

                                                                      JND Legal Administration False
